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    Attorneys for Defendant, Flint CPS Inks
    Holdings LLC
                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                  NEWARK VICINAGE

    OCCIDENTAL CHEMICAL CORPORATION,

           Plaintiff and Counter-Defendant,

    vs.                                              Civil Action No.: 2:18-cv-11273-JLL-JAD

    21ST CENTURY FOX AMERICA, INC.;
    3M COMPANY; AKZO NOBEL COATINGS,                        DEFENDANT
    INC.; ALDEN LEEDS INC.; ALLIANCE               FLINT CPS INKS HOLDINGS LLC’S
    CHEMICAL INC.; AMERICAN INKS &                    ANSWER AND ADDITIONAL
    COATINGS CORPORATION; ARKEMA                  DEFENSES TO PLAINTIFF’S AMENDED
    INC.; ASHLAND LLC; ATLANTIC                           COUNTERCLAIMS
    RICHFIELD COMPANY; ATLAS
    REFINERY, INC.; BASF CATALYSTS LLC;
    BASF CORPORATION; BATH IRON
    WORKS CORPORATION; BENJAMIN
    MOORE & CO.; BEROL CORPORATION;
    BORDEN & REMINGTON CORP.;
    CAMPBELL FOUNDRY COMPANY;
    CANNING GUMM LLC; CBS
    CORPORATION; CHARGEURS, INC.;
    CHEMTRADE CHEMICALS
    CORPORATION; CLEAN EARTH OF
    NORTH JERSEY, INC.; CNA HOLDINGS
    LLC; COATS & CLARK INC.; CONOPCO,
    INC.; COOPER INDUSTRIES, LLC;
    COVANTA ESSEX CO.; CRODA INC.;
    CURTISS-WRIGHT CORPORATION;
    DARLING INGREDIENTS INC.; DII
    INDUSTRIES, LLC; E.I. DU PONT DE
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    NEMOURS AND COMPANY; ELAN
    CHEMICAL CO., INC.; EMERALD KALAMA
    CHEMICAL, LLC; ENPRO INDUSTRIES,
    INC.; ESSEX CHEMICAL CORPORATION;
    EVERETT SMITH GROUP LTD.; FLINT CPS
    INKS HOLDINGS LLC; FORT JAMES LLC;
    FOUNDRY STREET CORPORATION;
    FOUNDRY STREET DEVELOPMENT, LLC;
    FRANKLIN-BURLINGTON PLASTICS, INC.;
    GARFIELD MOLDING COMPANY, INC.;
    GENERAL ELECTRIC COMPANY;
    GIVAUDAN FRAGRANCES
    CORPORATION; GOODRICH
    CORPORATION; HARRIS CORPORATION;
    HEXCEL CORPORATION; HEXION INC.;
    HOFFMANN-LA ROCHE, INC.;
    HONEYWELL INTERNATIONAL, INC.;
    HOUGHTON INTERNATIONAL INC.;
    INNOSPEC ACTIVE CHEMICALS LLC; INX
    INTERNATIONAL INK CO.; ISP
    CHEMICALS LLC; JOHNSON & JOHNSON
    CONSUMER INC.; KALAMA SPECIALTY
    CHEMICALS, INC.; KEARNY SMELTING &
    REFINING CORP.; LEEMILT’S
    PETROLEUM, INC.; LEGACY VULCAN,
    LLC; MALLINCKRODT LLC; MCKESSON
    CORPORATION; MELON LEASING
    CORPORATION, INC.; MELTSER TONNELE
    AVENUE LLC; MI HOLDINGS, INC.;
    NAPPWOOD LAND CORPORATION;
    NATIONAL-STANDARD LLC; NEU
    HOLDINGS U.S. CORPORATION; NEWELL
    BRANDS INC.; NOKIA OF AMERICA
    CORPORATION; NOVARTIS
    CORPORATION; NOVELIS CORPORATION;
    NOVEON HILTON DAVIS, INC.; OTIS
    ELEVATOR COMPANY; PABST BREWING
    COMPANY, LLC; PALIN ENTERPRISES
    L.L.C.; PFISTER URBAN RENEWAL
    CORPORATION; PHARMACIA LLC; PITT-
    CONSOL CHEMICAL COMPANY; PMC
    GLOBAL, INC.; PPG INDUSTRIES, INC.;
    PUBLIC SERVICE ELECTRIC AND GAS
    COMPANY; PURDUE PHARMA
    TECHNOLOGIES, INC.; QUALA SYSTEMS,
    INC.; QUALITY CARRIERS, INC.; REVERE


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    SMELTING & REFINING CORPORATION;
    REXAM BEVERAGE CAN COMPANY;
    ROSELLE MAUSOLEUM MAINTENANCE
    FUND, INC.; ROYCE ASSOCIATES, A
    LIMITED PARTNERSHIP; RTC
    PROPERTIES, INC.; SAFETY-KLEEN
    ENVIROSYSTEMS COMPANY; SEQUA
    CORPORATION; SETON COMPANY, INC.;
    SPECTRASERV, INC.; STANLEY BLACK &
    DECKER INC.; STWB INC.; SUN
    CHEMICAL CORPORATION; SUNOCO
    (R&M), LLC; SUNOCO PARTNERS
    MARKETING & TERMINALS L.P.; TATE &
    LYLE INGREDIENTS AMERICAS LLC;
    TEVAL CORPORATION; TEXTRON, INC.;
    THE HARTZ MOUNTAIN CORPORATION;
    THE NEWARK GROUP, INC.; THE
    OKONITE COMPANY, INC.; THE
    SHERWIN-WILLIAMS COMPANY;
    TIFFANY AND COMPANY; UNITED
    STATES STEEL CORPORATION;
    VANDERBILT MINERALS, LLC;
    WESTROCK-SOUTHERN CONTAINER,
    LLC; WIGGINS PLASTICS, INC.; AND
    ZENECA INC.,

          Defendants and Third-Party Plaintiffs,

    v.

    PASSAIC VALLEY SEWERAGE
    COMMISSIONERS,
    BOROUGH OF EAST NEWARK,
    BOROUGH OF EAST RUTHERFORD,
    BOROUGH OF ELMWOOD PARK,
    BOROUGH OF FAIR LAWN,
    BOROUGH OF FRANKLIN LAKES,
    BOROUGH OF GLEN RIDGE,
    BOROUGH OF GLEN ROCK,
    BOROUGH OF HALEDON,
    BOROUGH OF HASBROUCK HEIGHTS,
    BOROUGH OF HAWTHORNE,
    BOROUGH OF LODI,
    BOROUGH OF NORTH ARLINGTON,
    BOROUGH OF NORTH CALDWELL,

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    BOROUGH OF NORTH HALEDON,
    BOROUGH OF PROSPECT PARK,
    BOROUGH OF RUTHERFORD,
    BOROUGH OF TOTOWA,
    BOROUGH OF WALLINGTON,
    BOROUGH OF WOODLAND PARK f/k/a
    BOROUGH OF WEST PATERSON,
    BOROUGH OF WOOD-RIDGE,
    CITY OF CLIFTON,
    CITY OF EAST ORANGE,
    CITY OF GARFIELD,
    CITY OF NEWARK,
    CITY OF ORANGE TOWNSHIP,
    CITY OF PASSAIC,
    CITY OF PATERSON,
    TOWNSHIP OF BELLEVILLE,
    TOWN OF HARRISON,
    TOWN OF KEARNY,
    TOWN OF NUTLEY,
    TOWNSHIP OF BLOOMFIELD,
    TOWNSHIP OF CEDAR GROVE,
    TOWNSHIP OF LITTLE FALLS,
    TOWNSHIP OF LYNDHURST,
    TOWNSHIP OF MONTCLAIR,
    TOWNSHIP OF SADDLE BROOK,
    TOWNSHIP OF SOUTH HACKENSACK,
    TOWNSHIP OF SOUTH ORANGE VILLAGE,
    TOWNSHIP OF WEST ORANGE, and
    VILLAGE OF RIDGEWOOD,

           Defendants and Third-Party Defendants.

          Defendant Flint CPS Inks Holdings LLC (“Defendant”), by and through its counsel of

   record, hereby Answers Plaintiff/Counter-Defendant Occidental Chemical Corporation’s

   Amended Counterclaims (corrected), filed on August 31, 2021, ECF No. 1481 (“Counterclaim”),

   as set forth below. Except as specifically admitted herein, Defendant denies each and every

   allegation of the Counterclaim. Defendant expressly reserves the right to amend and supplement




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   its Answer and Defenses to Plaintiff’s Counterclaim. Defendant further responds paragraph-by-

   paragraph as follows:

          1.      The first sentence of Paragraph 1 of the Counterclaim references and purports to

   characterize and quote from Plaintiff’s Amended Complaint, a document which speaks for itself.

   Defendant denies any statements or allegations in the first sentence of Paragraph 1 that

   mischaracterize or misquote the referenced Amended Complaint or take it out of context.

   Defendant further denies that Plaintiff’s Amended Complaint was limited to claims related to the

   Lower 8.3 miles of the Lower Passaic River and denies any remaining allegations,

   characterizations, or implications in the first sentence of Paragraph 1. Defendant incorporates as if

   fully set forth herein its responses to all the allegations and claims in Plaintiff’s Amended

   Complaint, as set forth in this Defendant’s Amended Answer and Additional Defenses, ECF No.

   1371 (“Answer to Amended Complaint”).

          2.      Paragraph 2 of the Counterclaim references and purports to characterize and quote

   from Defendants’ Amended Counterclaim filed in this matter. These documents speak for

   themselves in the appropriate context. Defendant denies any statements or allegations in Paragraph

   2 that mischaracterize or misquote Defendant’s Amended Counterclaim or take them out of

   context. Defendant denies any remaining allegations, characterizations, and implications in

   Paragraph 2 and re-asserts its claim for relief in Defendant’s Amended Counterclaim and Answer

   to Cross-Claims (ECF No. 1371).

          3.      To the extent the allegations in Paragraph 3 and footnote 5 of the Counterclaim

   relate to persons or entities other than this Defendant, Defendant is without knowledge or

   information sufficient to form a belief as to the truth or accuracy of those allegations and therefore

   denies the same. Paragraph 3 and footnote 5 of the Counterclaim contain references to and



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   characterizations of Plaintiff’s Amended Complaint, Defendants’ Amended Counterclaim, and a

   certain 2007 Standstill Agreement. Those documents speak for themselves in the appropriate

   context. Defendant denies any statements or allegations in Paragraph 3 or footnote 5 that

   mischaracterize or misquote such documents or take them out of context. Defendant further denies

   that Defendants broadened the scope of this litigation. Paragraph 3 and footnote 5 of the

   Counterclaim contain legal conclusions and Plaintiff’s characterization of its own claims, to which

   no response is required.      However, Plaintiff’s Cross-Claims, its CERCLA Section 113

   counterclaim-in-rely, and declaratory judgment counterclaim-in-reply, except as they relate to the

   2007 remedial investigation and feasibility study (“RI/FS”) administrative settlement agreement

   and order on consent (“2007 RI/FS ASAOC”), have been dismissed pursuant to the Court’s May

   26, 2020 Order partially granting Defendants’ Motion to Strike or Dismiss (ECF No. 968) (“May

   26, 2020 Order”). With respect to Plaintiff’s remaining declaratory judgment and Section 113

   Counterclaim-in-Reply relating to the 2007 RI/FS ASAOC, Defendant denies that Plaintiff has

   incurred recoverable costs or is entitled to any of the requested relief, and incorporates its

   Additional Defenses below. Footnote 5 contains one or more conclusions of law, to which no

   response is required. To the extent a response is required, Defendant denies the allegations in

   footnote 5 and expressly denies that Plaintiff has the “right” to amend its Counterclaim. Defendant

   denies any remaining allegations, characterizations, and implications in Paragraph 3 and footnote

   5, including any which seek to impute liability to Defendant.

          4.      Defendant incorporates as if fully set forth herein its responses to Paragraphs 1

   through 59 of Plaintiff’s Amended Complaint, as set forth in Paragraphs 1 through 59 of its Answer

   to Plaintiff’s Amended Complaint (ECF No. 1371).

          5.      To the extent the allegations contained in Paragraph 5 of the Counterclaim relate to



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   persons or entities other than Defendant, Defendant is without knowledge or information sufficient

   to form a belief as to the truth or accuracy of those allegations and therefore denies the same.

   Paragraph 5 of the Counterclaim references and purports to characterize a 2016 Record of Decision

   for the Lower 8.3 Miles of the Lower Passaic River Part of the Diamond Alkali Superfund Site

   (“2016 ROD”), a document which speaks for itself in the appropriate context. Defendant denies

   any statements or allegations in Paragraph 5 that mischaracterize this document or take it out of

   context. Defendant denies any remaining allegations, characterizations, and implications in

   Paragraph 5.

          6.      To the extent the allegations in Paragraph 6 of Plaintiff’s Counterclaim seek to

   paraphrase or characterize the 2004 RI/FS AOC and amendments thereto and the 2007 RI/FS

   ASAOC referred to in Paragraph 6, these documents speak for themselves in the appropriate

   context. Defendant denies any statements or allegations in Paragraph 6 that pertain to Defendant.

   Defendant denies any statements or allegations in Paragraph 6 that mischaracterize the referenced

   settlement agreements and amendments or take them out of context. To the extent the allegations

   in Paragraph 6 relate to persons or entities other than Defendant, Defendant is without knowledge

   or information sufficient to form a belief as to the truth or accuracy of those allegations and

   therefore denies the same. Defendant admits that in Plaintiff’s Counterclaim and Cross-Claims,

   Plaintiff seeks a money judgment for cost recovery and contribution for response costs allegedly

   incurred in connection with the 2007 RI/FS ASAOC but denies that Plaintiff has incurred

   recoverable costs or is entitled to any of the requested relief. Defendant denies any remaining

   allegations, characterizations, or implications in Paragraph 6, including any which seek to impute

   liability to Defendant.

          7.      In response to the allegations of Paragraph 7 of Plaintiff’s Counterclaim, Defendant



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   refers to and specifically incorporates by reference as if fully set forth herein Paragraphs 60

   through 65 of its Answer to the Amended Complaint.

          8.      In response to the allegations of Paragraph 8 of Plaintiff’s Counterclaim, Defendant

   refers to and specifically incorporates by reference as if fully set forth herein Paragraphs 66

   through 231 of its Answer to the Amended Complaint.

          9.      In response to the allegations of Paragraph 9 of Plaintiff’s Counterclaim, Defendant

   refers to and specifically incorporates by reference as if fully set forth herein Paragraphs 1 through

   287 of its Answer to the Amended Complaint.

          10.     In response to the allegations of Paragraph 10 of Plaintiff’s Counterclaim,

   Defendant refers to and specifically incorporates by reference as if fully set forth herein Paragraphs

   232 through 328 of its Answer to Complaint.

                                          COUNT IV
                             (Counterclaim against all Defendants for
                            CERCLA Contribution Under Section 113(f))

          11.     Defendant refers to and specifically incorporates by reference its responses to

   Paragraphs 1 through 10 of Plaintiff’s Counterclaim.

         12.      Defendant is without knowledge or information sufficient to form a belief as to the

   truth or accuracy of allegations as to other Defendants and therefore denies the same. Paragraph

   12 of the Counterclaim contains one or more conclusions of law, to which no response is required.

   To the extent a response is required, Defendant denies any remaining allegations,

   characterizations, or implications in Paragraph 12, including any which seek to impute liability to

   Defendant.

         13.      Paragraph 13 of the Counterclaim consists of one or more conclusions of law, to

   which no response is required. To the extent a response is required, Defendant denies the

   allegations in Paragraph 13.

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         14.      Plaintiff’s CERCLA Section 113(f) claim relating to the 2004 RI/FS AOC and the

   2012 River Mile 10.9 Removal Unilateral Administrative Order (“2012 RM 10.9 Removal UAO)

   and Plaintiff’s Cross-Claims have been dismissed pursuant to the Court’s May 26, 2020 Order,

   therefore no response is required to allegations relating to those administrative orders. Defendant

   further states that Paragraph 14 of the Counterclaim consists of one or more conclusions of law, to

   which no response is required. To the extent a response is required, Defendant denies the

   allegations in Paragraph 14. Additionally, no response is required to Plaintiff’s prayer for relief;

   to the extent a response is required, Defendant denies that Plaintiff is entitled to any relief.

                                            COUNT IV
                               (Counterclaim against all Defendants for
                                 Declaratory Judgment – CERCLA)

          15.     Defendant refers to and specifically incorporates by reference its responses to

   Paragraphs 1 through 14 of Plaintiff’s Counterclaim.

          16.     Defendant denies each and every allegation in Paragraph 16 to the extent directed

   to it. Defendant is without knowledge or information sufficient to form a belief as to the truth or

   accuracy of allegations as to other Defendants and therefore denies the same. Paragraph 16 of the

   Counterclaim contains one or more conclusions of law, to which no response is required. To the

   extent a response is required, Defendant denies any remaining allegations, characterizations, or

   implications in Paragraph 16, including any which seek to impute liability to Defendant.

          17.     Paragraph 17 of the Counterclaim consists of one or more conclusions of law, to

   which no response is required. To the extent a response is required, Defendant denies the

   allegations in Paragraph 17.

          18.     Plaintiff’s declaratory judgment counterclaim-in-reply, except as they relate to the

   2007 RI/FS ASAOC and Plaintiff’s Cross-Claims, have been dismissed pursuant to the Court’s



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   May 26, 2020 Order, therefore no response is required to allegations relating to other

   administrative orders. Defendant further states that Paragraph 18 of the Counterclaim consists of

   one or more conclusions of law, to which no response is required. To the extent a response is

   required, Defendant denies the allegations in Paragraph 18.

           19.      Plaintiff’s declaratory judgment Counterclaim-in-Reply, except as they relate to the

   2007 RI/FS ASAOC and Plaintiff’s Cross-Claims, have been dismissed pursuant to the Court’s

   May 26, 2020 Order, therefore no response is required to allegations relating to other

   administrative orders. Defendant further states that Paragraph 19 of the Counterclaim consists of

   one or more conclusions of law, to which no response is required. Additionally, no response is

   required to Plaintiff’s prayer for relief; to the extent a response is required, Defendant denies that

   Plaintiff is entitled to any relief.

           WHEREFORE, Defendant Flint CPS Inks Holdings LLC respectfully requests that this

   Court dismiss Plaintiff’s Amended Complaint and Counterclaim with prejudice or upon trial enter

   a Judgment of no cause of action against Plaintiff and in favor of Defendant Flint CPS Inks

   Holdings LLC; award Defendant Flint CPS Inks Holdings LLC its attorneys’ fees and costs for

   having to defend this action; and award Defendant Flint CPS Inks Holdings LLC such further and

   other legal and equitable relief as this Court deems just and proper.

                                          ADDITIONAL DEFENSES

           NOW COMES Defendant Flint CPS Inks Holdings LLC, by and through its counsel of

   record, and hereby asserts the following Additional Defenses in response to Plaintiff’s Amended

   Counterclaim:

           A. Defendant refers to and specifically incorporates by reference as if fully set forth herein

                 each and every defense asserted in Defendant’s Answer to the Amended Complaint



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              and Additional Defenses (ECF No. 1371).

          B. Plaintiff has not alleged nor can it prove that Defendant is more than a de micromis

              party completely exempt from CERCLA liability; Defendant shall therefore be entitled

              to recover from Plaintiff the statutory costs and fees set forth in 42 U.S.C. § 9607(p)(7)

              incurred defending against the claims asserted by Plaintiff.

          C. Defendant continues its objection that this Defendant is not a Michigan corporation and

              does not maintain its principal place of business in East Lansing, Michigan as alleged

              by Plaintiff.

          D. Defendant reserves the right to assert further defenses that may become apparent during

              the course of discovery and pretrial proceedings.

          WHEREFORE, Defendant Flint CPS Inks Holdings LLC respectfully requests that this

   Court dismiss Plaintiff’s Amended Complaint and Counterclaim with prejudice or upon trial enter

   a Judgment of no cause of action against Plaintiff and in favor of Defendant Flint CPS Inks

   Holdings LLC; award Defendant Flint CPS Inks Holdings LLC its attorneys’ fees and costs for

   having to defend this action; and award Defendant Flint CPS Inks Holdings LLC such further and

   other legal and equitable relief as this Court deems just and proper.



    Dated: September 14, 2021                        BARNES & THORNBURG LLP

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                                          Holdings LLC




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